           FIRST DISTRICT COURT OF APPEAL
                  STATE OF FLORIDA
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                        No. 1D2023-1738
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MAURICE SEVIA STRUGGS JR.,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Escambia County.
Coleman L. Robinson, Judge.

                         August 21, 2024


ROWE, J.

     Maurice Sevia Struggs Jr. appeals his judgment and sentence
for fleeing or attempting to elude a law enforcement officer and
driving while license suspended. He argues that the trial court
erred in allowing the admission of identification testimony by a
police officer. We affirm.

                              Facts

     Deputy Karem Suhi received a notification to be on the look
out for a small, black SUV. When he saw a SUV that matched that
description, he tried to conduct a traffic stop. Suhi was driving a
marked patrol car and activated his lights and sirens. The black
SUV immediately sped up and ran a stop sign. Suhi began a high-
speed pursuit of the SUV. He followed the SUV as it weaved in and
out of traffic, drove on the shoulder of the road, and crossed double
yellow lines on a two-lane road. The SUV also forced on-coming
traffic to move off the road. It then went into a residential area,
reaching speeds up to ninety miles-per-hour. As Suhi prepared to
conduct a maneuver to stop the SUV, the driver of the SUV
slammed on the brakes and turned, causing Suhi’s patrol car to
collide with the back of the SUV. The collision disabled Suhi’s
patrol car. But other officers continued to chase the SUV.

     Suhi described the driver as a black male with dreads, and
identified the driver as Struggs. Over defense counsel’s objections,
Suhi testified that he previously had contact with Struggs. Suhi
explained that he patrolled Struggs’ residential subdivision for
most of his career, and he talked to Struggs five or six times a year
over about five years. While Struggs was in the back seat of an
officer’s vehicle, a dashcam video shows Suhi walking up to the
vehicle and saying, “I knew it was you, I knew it was you.” The
video was played over defense counsel’s objection.

     After Struggs was taken into custody, he waived his rights
and agreed to answer questions. Struggs nodded yes when the
officer asked if Struggs’ driver’s license was bad. Struggs later
admitted that he ran from the police because he knew he would go
to jail if stopped.

     The jury found Struggs guilty of fleeing or attempting to elude
a law enforcement officer and driving while license suspended. The
court sentenced Struggs to fifteen years in prison. This timely
appeal follows.

                              Analysis

     Struggs argues that the trial court reversibly erred when it
allowed Deputy Suhi to testify about his prior contact with
Struggs. Struggs contends that Suhi’s testimony led to the
inescapable conclusion that Struggs engaged in prior criminal
acts. We review the trial court’s ruling on the admissibility of
evidence for an abuse of discretion. McCray v. State, 919 So. 2d
647, 649 (Fla. 1st DCA 2006). We review de novo the trial court’s
interpretation of the evidence code and applicable case law. Id.
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     “Under certain circumstances, a police officer’s testimony
about how the officer came to know a defendant may create a
prejudicial inference that the defendant has a prior criminal
history.” Spike v. State, 251 So. 3d 1017, 1020 (Fla. 2d DCA 2018).
For example, courts have found such testimony unduly prejudicial
when the officer’s sole role in the case was to identify the defendant
and when the officer’s testimony suggested prior bad acts. See, e.g.,
Day v. State, 105 So. 3d 1284, 1286–88 (Fla. 2d DCA 2013) (holding
that it was error to allow a police officer who was not involved in
the investigation to identify the defendant from a surveillance
video by stating that she had contact with the defendant as a
community police officer, that she knew the defendant’s street
name, and that she learned his legal name by pulling up photos);
Johnson v. State, 68 So. 3d 366, 367 (Fla. 1st DCA 2011) (holding
that the admission of identification testimony from three law
enforcement officers not present during the controlled buy was
error when one officer said he knew the defendant for his entire
law enforcement career and another officer said he knew the
defendant from a prior investigation); Alcantar v. State, 987 So. 2d
822, 824–25 (Fla. 2d DCA 2008) (holding that an officer who
monitored an audio transmission of a controlled buy, but did not
witness it, should not have been allowed to testify that he knew
the defendant for his entire twenty-three-year career in law
enforcement and that he knew the defendant’s street name).

     Suhi testified that he knew Struggs because Struggs lived in
an area that Suhi patrolled for most of his eleven-year career. Suhi
explained that he had talked to Struggs five or six times a year for
about five years. The trial court did not abuse its discretion in
allowing Suhi’s testimony because an officer’s testimony that he is
familiar with the resident of a neighborhood the officer patrols
does not, by itself, imply the resident committed a prior bad act.
See Harrison v. State, 775 So. 2d 423, 425 (Fla. 5th DCA 2001)
(holding that a deputy’s testimony about his preparation of a
photographic line-up, which mentioned a check of the defendant’s
criminal history, did not impermissibly imply to the jury that the
defendant had a prior criminal history, so as to warrant mistrial,
where the prosecutor interrupted the deputy before the deputy
could testify about the results of his check of the defendant’s
criminal history, and the question asked by the prosecutor was not

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one which would have normally elicited a statement about any
criminal history). Nothing in Suhi’s testimony implied that
Struggs had engaged in any prior bad acts.

     Even so, Struggs also challenges another statement Suhi
made that was captured in the other officer’s dashcam video. Suhi
can be heard saying, “I knew it was you, Maurice. I knew it was
you.” Struggs argues that the trial court erred in allowing the
admission of this statement. We disagree. Suhi’s statement in the
video was properly admitted as a statement of identification.
Section 90.801(2)(c), Florida Statutes, provides that “[a] statement
is not hearsay if the declarant testifies at the trial or hearing and
it subject to cross-examination concerning the statement and the
statement is . . . [o]ne of identification of a person made after
perceiving the person.” This hearsay exception applies “if the
declarant was an eyewitness or a victim who identified the alleged
perpetrator soon after the crime or soon after coming into contact
with him or her.” Jenkins v. State, 107 So. 3d 555, 556 (Fla. 1st
DCA 2013) (quoting Davis v. State, 52 So. 3d 52, 54 (Fla. 1st DCA
2010)).

     Suhi was an eyewitness. He saw Struggs driving the SUV and
Suhi engaged in the high-speed pursuit of the SUV. Shortly after
his patrol car was disabled, Suhi went to the location where
Struggs was detained. Suhi’s immediate reaction to seeing Struggs
in the backseat of the police vehicle was to say, “I knew it was you,
Mauirce. I knew it was you driving.” Suhi testified at trial and was
subject to cross-examination. Thus, this statement on the video
was properly admitted as a statement of identification.

     But even if Suhi’s testimony and his statement of
identification on the video had not been admissible, any error in
their admission would be harmless. The admission of prejudicial
identification testimony from a law enforcement officer is subject
to harmless error analysis. Spike, 251 So. 3d at 1020. When
considering whether an error is harmless, this court must
determine whether “there is a reasonable possibility that the error
affected the verdict.” State v. DiGuilio, 491 So. 2d 1129, 1139 (Fla.
1986). This test requires the court to examine the evidence on
which the jury could legitimately rely and the impermissible
evidence that might have influenced the jury’s verdict. Id. at 1138.

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Without objection, the State introduced a video depicting the high-
speed chase and Struggs coming out of the area where the SUV
involved in the chase was located. The jury was also presented
with a redacted version of Struggs’ interrogation where he
confessed that he knew that his license was suspended, that he
was driving the vehicle, and that he ran from the police because he
did not want to go to jail. Under these facts, the effect of the
testimony that Suhi knew Struggs from the area and his
identification of Struggs in the dashcam video was harmless.

    We, therefore, AFFIRM Struggs’ conviction and sentence.

OSTERHAUS, C.J. and LONG, J., concur.

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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Jessica J. Yeary, Public Defender, and Kathleen Pafford, Assistant
Public Defender, Tallahassee, for Appellant.

Ashley Moody, Attorney General, and Daren Shippy, Assistant
Attorney General, Tallahassee, for Appellee.




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